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                   IN THE UNITED STATES DISTRICT COURT FOR THE

                              EASTERN DISTRICT OF VIRGINIA

                                        Richmond Division


 UNITED STATES OF AMERICA

        V.                                              Criminal No. 3:24-cr-121-RCY


 DEON LAMONT HICKS,

              A.k.a. “DeeDee,’

                             Defendant.



                                    STATEMENT OF FACTS


       The United States and the defendant, DEON LAMONT HICKS, A.K. A. “DEEDEE,

(hereinafter, “the defendant”), agree that at trial, the United States would have proven the

following facts beyond a reasonable doubt with admissible and credible evidence:

    1. On or about May 7,2024, in the Eastern District of Virginia, the defendant did knowingly

and intentionally distribute a mixture and. substance containing a detectable amount of

methamphetamine, a Schedule II controlled substance, in violation of Title 21, United States

Code, Sections 841(a)(1) and (b)(1)(C), and did knowingly use and carry a firearm, during and in

relation to a felony drug trafficking crime for which he may prosecuted in a court of the United

States, to wit: distribution of methamphetamine, in violation of Title 18, United States Code,

Section 924(c).

   2. In March 2024, the Bureau of Alcohol, Tobacco, Firearms, and Explosives (“ATF”),

initiated a proactive investigation into Violent Crime Initiative (“VCI”) areas of the City of

Richmond, Virginia, which included Fairfield, Mosby, and Gilpin Courts. Between March 20,

2024 and July 30,2024, ATF conducted numerous controlled purchases of firearms and

narcotics, utilizing professional confidential informants (“CIs”). The controlled purchases were

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all made in the VCI areas or involved individuals from those areas. The controlled purchases


and interactions between the CIs and dealers were captured on electronic surveillance devices.

   3.   In March 2024, a Cl was introduced to the defendant as someone from whom the Cl

could purchase guns and drugs. Between April 4, 2024, and May 8, 2024, the defendant

brokered six deals between the Cl and individuals who sold guns to the Cl.   The guns included a

Diamondback Arms DB9,9mm handgun, bearing serial number MA2096, a Ruger, Max-9, 9mm

Pistol, bearing serial number 350183262, a Taurus Revolver, Model Judge, bearing serial

number ABG40869, a Clock, Model 20, 10mm Pistol, bearing serial number HAX242, a

Privately Made Firearm (“PMF”), pf940C, 9mm handgun, and a stolen Ruger, EC9S, 9mm,

bearing serial number 45509560. The Taurus Revolver, Model Judge, bearing serial number

ABG40869, was stolen from a Federal Firearms License Dealer less than 48 hours before it was

sold to the Cl. The Cl paid over $2,000 for the firearms and over $300 to the defendant to broker

the gun deals.

   4.   On May 2, 2024, the defendant sold the Cl what were purported to be 22 ecstasy pills for

$80. The pills were submitted to the Drug Enforcement Administration (“DEA”) Mid-Atlantic

Laboratory (“Lab”), where they were confirmed to be approximately 7 grams of a mixture and

substance containing a detectable amount of methamphetamine, a Schedule II controlled

substance. On May 3, 2024, the defendant sold the Cl what were purported to be 20 ecstasy

pills for $200. The pills were submitted to the DEA Lab, where they were confirmed to be

approximately 7 grams of a mixture and substance containing a detectable amount of

methamphetamine, a Schedule II controlled substance. On May 7, 2024, the defendant sold the

Cl what were purported to be 10 ecstasy pills for $100. The pills were submitted to the DEA

Lab where they were confirmed to be approximately 3.5 grams of a mixture and substance


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containing a detectable amount of methamphetamine, a Schedule II controlled substance. On

May 8, 2024, the defendant sold the Cl what were purported to be 20 ecstasy pills for $200. The

pills were submitted to the DBA Lab where they were confirmed to be approximately 7 grams of

a mixture and substance containing a detectable amount of methamphetamine, a Schedule II

controlled substance. On each occasion when the defendant sold drugs to the Cl, the defendant


was visibly armed with his own firearm. During the distribution on May 7, 2024, the firearm

was clearly visible, tucked into the defendant’s waistband, which was captured on video.

    5.   In addition to selling illegal narcotics to the Cl, the defendant also aided in the sale of

firearms to the Cl by defendant’s codefendant, Corry Antoine Woody, Jr. (“Woody”). On May

6, 2024, the defendant arranged a firearm deal, during which Woody sold the Cl a stolen Smith

& Wesson, M&P Shield, 9mm pistol, bearing serial number JDM9260, for $545, as well as an

Aero Precision, multi-caliber AR-pistol, bearing serial number X575365. During the deal, the Cl

told both the defendant and Woody that the Cl was “going back up,” indicating that he would be

taking the firearms to New Jersey. On May 7, 2024, defendant arranged another firearm deal

during which Woody sold the Cl a Privately Made Firearm (“PMF”), pf940C, 9mm, which was

affixed with a “switch,” for $1,200. On May 8, 2024, the defendant arranged another firearm

deal during which Woody sold the Cl a Ruger, EC9S, 9mni pistol, bearing serial number

45509560, for $700, and a “switch,” for $700 ACF. Defendant was present for all of the firearm

deals.


    6. This statement of facts includes those facts necessary to support the plea of guilty by the

defendant. It does not include each and every fact known to the defendant or to the United States,

and it is not intended to be a full enumeration of all of the facts surrounding the defendant’s case.




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   7.   The actions of the defendant, as recounted above, were in all respects knowing and

deliberate, and were not committed by mistake, accident, or other innocent reason.

                                       Respectfully Submitted,

                                      JESSICA D. ABER
                                      UNITED STATES ATTORNEY




                                    ’ /Olivia L. Norman
                                      Assistant United States Attorney
                                      Katherine E. Groover
                                      Special Assistant United States Attorney



        After consulting with my attorney, I hereby stipulate that the above Statement of Facts is

true and accurate, and that had the matter proceeded to trial, the United States would have proved

the same beyond a reasonable doubt.



                                      Deon Lamont Hicks,
                                      Defendant




        I am Lawrence H. Woodward, Jr., defendant’s attorney. I have carefully reviewed the

above Statement of Facts with him. To my knowledge, his decision to stipulate to these facts is

an informed and voluntary one.




                                      Lawrence H. Woodward, Esq.
                                      Attorney for Defendant




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